                                          Case 4:21-cv-01497-PJH Document 36 Filed 08/16/21 Page 1 of 1




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                                  4                                    UNITED STATES DISTRICT COURT

                                  5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                  7      HUGO ELLIOTT,
                                                                                           Case No. 21-cv-01497-PJH
                                  8                      Plaintiff,

                                  9               v.                                       JUDGMENT
                                  10     PUBMATIC, INC.,
                                  11                     Defendant.

                                  12
Northern District of California
 United States District Court




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                                  14            The issues having been duly heard and the court having granted defendant’s

                                  15   motion to dismiss the complaint without prejudice to filing the case in the appropriate

                                  16   forum,

                                  17            it is Ordered and Adjudged

                                  18            that plaintiff take nothing, and that the action is dismissed.

                                  19            IT IS SO ORDERED.

                                  20   Dated: August 16, 2021

                                  21                                                   /s/ Phyllis J. Hamilton
                                                                                       PHYLLIS J. HAMILTON
                                  22                                                   United States District Judge
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